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                                                                                       CLERK, U.S. DISTRICT COURT
 4                                                 UNITED STATES COURT                NORTH DISTRICT OF CALIFORNIA
 5                                         DISTRICT OF NORTHERN CALIFORNIA

 6   James Hellard                                                Case No.: 4:22-cv-02001 -J" � w

 7   vs.

 8   CITY OF SAN RAFAEL              RESPONSE TO CITY OF SAN RAFAEL'S MOTION
     _ _______          _______ ___, TO DISMISS
 9

10              I, Hellard, submit the following response to the California Department of Transportation's motion to

11   dismiss.

12              Defendants motion to dismiss cannot be sustained. Defendants assertion that no controversy exists is only

13   supported by the perjurious statements of Carl Huber. Because it relies primiarly on the perjDefendants assumption

14   that no controversy exist is based on the perjurious statements of Carl Huber.

15              This response is filed concurrently with a motion to strike Mr. Hubers declaration and sanction him for

16   perjury. Until the material fact of how criminalization of homelessness is the driver of the encampment is settled, a

17   motion to dismiss with prejudice is not sustainable. I will not waste the courts time pondering and responding to all

18   of their other tangential assertions in Defendants motion because of this. Defendants are basing their motion to

19   dismiss on their own acts perjury, and I am challenging the perjury, the motion to dismiss is premature.

20              Furthermore, I am filing concurrently with this response a motion to leave to amend my complaint, which

21   will give me time to retain an attorney to represent me and prosecute this case. Me retaining an attorney is in the

22   interest of this court so that the case may be decided on its merits rather than the power differetntial between myself,

23   Defendants, and the Defendants hired law firm. I now have significantly more opportunity to retain an attorney

24   thanks to favorable media coverage of this case.

25   Respectfugl Submitted

26   Signed        c.-..,...._.   \)
27   Date          S - S - � (__
28
     RESPONSE TO CITY OF SAN RAFAEL'S MOTION TO DISMISS - I
